      Case: 1:24-cv-02447 Document #: 55 Filed: 11/19/24 Page 1 of 3 PageID #:628




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

    GISELLE NEVAREZ, et al.,

                Plaintiffs,
                                                       No. 24 CV 2447
           v.
                                                       Judge Manish S. Shah
    HIGH HEELS DANCING CO. and
    KONSTANTINOS MATHIOUDAKIS,

                Defendants.

                                         ORDER

        Plaintiffs’ motion for entry of default as a sanction for civil contempt and under
Rule 37(e) is granted. The court enters an order of default against defendants,
establishing defendants’ liability for all claims in plaintiffs’ amended complaint [4].
The court further bars defendants from offering any evidence to contest class
certification under Rule 23, and the calculation of damages for any plaintiff or class
member other than individuals about whom defendants have produced payment
records. Plaintiffs must still prevail on their burdens to establish entitlement to
specific relief. The court will consider interim relief, including seizure of assets, arrest
of defendants’ principals, or appointment of a receiver, see Fed. R. Civ. P. 64, 66,
certification of a class under Fed. R. Civ. P. 23, along with final relief after further
briefing and evidentiary support. Plaintiffs may file and notice motions for further
relief on the court’s regular motion call.

                                       STATEMENT

       Defendants’ track record of noncompliance with court orders leaves no room
for any inference other than willful disobedience. Defendants ignored plaintiffs’
motion for conditional certification of a collective action. See [28]. * The court ordered
defendants to provide a list of all dancers who worked for defendants from March 25,
2021, to the present, including all known contact information, by August 29, 2024.
[28]. Defendants claimed to produce all documents in existence containing contact
information for potential members of the collective and claimed that a water leak
destroyed all records. See [30]; [34]; [43]. Defendants claimed, under oath, to have no
further information regarding the names of dancers and claimed not to have access
to any email communications with dancers. [45-1]. Defendants claimed that they used

* Bracketed numbers refer to entries on the district court docket. Page numbers are taken
from the CM/ECF header placed at the top of filings.
    Case: 1:24-cv-02447 Document #: 55 Filed: 11/19/24 Page 2 of 3 PageID #:629




only two email accounts. See [47] at 2. The court ordered defendants to turn over
devices and disclose every email address used by defendants. [46]. Defendants
removed a SIM card from one of the devices before turning it over. [47] at 4. Plaintiffs’
forensic investigation then revealed seven undisclosed email accounts and the
deletion of over 7,000 emails after September 24, 2024. The deleted emails included
communications with individuals who responded to defendants’ form application to
work—strongly suggesting that the emails contained information of at least some
people who eventually did work for defendants. See [50-1] at 10. Defendants
permanently deleted emails between October 9, 2024, and October 10, 2024. [47] at
2–3.

       Although defense counsel made defendants available to answer any questions
from the court, the defense did not offer any facts to contradict plaintiffs’ assertions
in their filings (supported by affidavits and other exhibits). I credit plaintiffs’ facts
and find that defense counsel’s unsupported claim that his clients did not know they
were not allowed to delete emails to be incredible. Defendants willfully concealed or
destroyed email addresses, electronic devices (the SIM card), and the contents of
emails, all in order to prevent the court and plaintiffs from implementing notice for
the collective action. Plaintiffs’ forensic investigator reports that many of the deleted
emails cannot be recovered; they cannot be restored or replaced through additional
discovery. This has prejudiced plaintiffs by hampering their attempt to alert potential
members of the collective of their right to participate. Identifying and contacting
potential members who work in this industry takes a few steps—people use stage
names, work intermittently, and change contact information. Defendants necessarily
are the source for the first step. Hiding the contents of electronic devices and accounts
materially hindered the court-ordered notice process.

        If the failures here were “mere clumsy lawyering” then a court should not
resort to its inherent authority to impose sanctions. Fuery v. City of Chicago, 900 F.3d
450, 464 (7th Cir. 2018). This was not just bad lawyering. Defendants’ conduct
violated court orders and their discovery obligations under Rule 37. Their
disobedience was in bad faith (the only inference to be drawn from removing the SIM
card from a device the court had ordered to be forensically reviewed and deleting
emails after October 8, 2024). Delay in notice to potential members affects the
ultimate relief, because of the running statute of limitations. Continuing to drag out
the litigation to unwind defendants’ contempt for the court will only impede a timely
resolution. The sanction of default judgment is appropriate. See Fuery, 900 F.3d at
464, 466. And as outlined above, the elements of Rule 37(e) sanctions have also been
met. See DR Distributors, LLC v. 21 Century Smoking, Inc., 513 F.Supp.3d 839, 958–
59 (N.D. Ill. 2021); Fed. R. Civ. P. 37(e)(2)(C).

       Default judgment, although a harsh sanction, is necessary here to protect the
integrity of the court and civil litigation. Defense counsel has repeatedly asserted that
plaintiffs’ claims have no merit. Defendants could have participated and defended the


                                           2
    Case: 1:24-cv-02447 Document #: 55 Filed: 11/19/24 Page 3 of 3 PageID #:630




case honestly; instead, they chose first to ignore the motion for conditional
certification and then obstruct justice. Anything short of default would deprecate the
seriousness of the violation.


ENTER:


Date: November 19, 2024
                                              Manish S. Shah
                                              U.S. District Judge




                                          3
